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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA

United States of America,                      )
                                               )       PRETRIAL STATUS CONFERENCE
               Plaintiff,                      )
                                               )
       vs.                                     )
                                               )       Case No.: 1:23-cr-102
Christopher James Gordon,                      )
                                               )
               Defendant.                      )


       The undersigned shall hold a pretrial status conference with counsel by telephone on

September 26, 2023, at 2:00 PM to discuss, among other things, the viability of the current trial date.

To participate, counsel shall call (877) 810-9415 and enter access code 8992581. Counsel are

strongly encouraged to consult with each other prior to the conference. This will enable the

conference to progress more expeditiously.

       IT IS SO ORDERED.

       Dated this 15th day of August, 2023.

                                               /s/ Clare R. Hochhalter
                                               Clare R. Hochhalter, Magistrate Judge
                                               United States District Court
